                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

VOLTERRA SEMICONDUCTOR,                   )
LLC.,                                     )
                                          )
                     Plaintiffs,          )
                                          )
       v.                                 ) C.A. No. 19-2240-CFC
                                          )
MONOLITHIC POWER SYSTEMS,                 )
INC.,                                     )
                                          )
                     Defendant.

                    JOINT CLAIM CONSTRUCTION CHART

      Pursuant to Paragraph 15 of the Scheduling Order (D.I. 69), Plaintiff Volterra

Semiconductor, LLC (“Volterra”) and Defendant Monolithic Power Systems, Inc.

(“Monolithic”) hereby submit this Joint Claim Construction Chart identifying for the

Court the claim terms of the Asserted Patents for which the parties have a dispute,

together with the parties’ proposed constructions of the disputed claim language and

citations to the supporting intrinsic evidence. Text-searchable copies of the relevant

patents are attached hereto.

Patents at Issue:

   • 6,362,986

   • 7,525,408

   • 7,772,955


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                                  Attorneys for Defendant




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                                       AGREED CONSTRUCTIONS

    Claim Term           Claim(s)                                 Agreed Construction
“A method for          ’986 Patent,   The preamble is limiting.
reducing ripple in a   Claim 17
DC-to-DC
converter of the
type producing an
output voltage from
an input voltage,
comprising the steps
of:”
“An N-phase            ’408 Patent,   The preamble is limiting.
coupled inductor for   Claim 14
magnetically
coupling N phases
of a power
converter”

“A two phase           ’955 Patent,   The preamble is limiting.
coupled inductor for   Claims 1, 23
magnetically
coupling first and
second phases of a
power converter
“A coupled             ’955 Patent,   The preamble is limiting.
inductor”              Claim 12


                                                       3
    Claim Term          Claim(s)                              Agreed Construction
“A two phase DC-     ’955 Patent,   The preamble is limiting.
to-DC converter”     Claim 16
“coupled inductor”   ’408 patent,   “an inductor with two or more windings arranged such that the magnetic
                     claim 14       fields produced by the windings interact with one another”
                     ’955 patent,
                     claims 1–3, 5,
                     10, 12–16,
                     23–28




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                                      CONTESTED CONSTRUCTIONS
U.S. Patent Nos. 6,362,986 (17, 18, 20, 21, 23)

                                        Plaintiffs’ Proposed Construction,       Defendant’s Proposed
       Claim Term         Claim(s)
                                                 Intrinsic Evidence         Construction, Intrinsic Evidence
    “reducing ripple”   ’986 Patent,    Not indefinite 1
                                                                           Indefinite
                        Claim 17
                                        ’986 Patent: Abstract; col. 1, lines      ’986 Patent at Abstract, 1:18–59,
                                        10-67; col. 2, line 2-col. 3, line 54;    2:20-24, 2:38–45, 2:64–66, 3:10–
                                        col. 6 lines 3-15; col. 7, line 33-col.   16, 3:22–38; 3:51–54, 4:33–36, 6:3–
                                        10, line 67; col. 11, line 33-col. 12,    7, 7:33–8:35, 8:61–9:14, 9:33–66,
                                        line 27; FIG. 2; FIG. 3A; FIG. 3B;        10:9–39, 10:59–67, 11:34–12:16,
                                        FIG. 4; FIG. 5; FIG. 6; FIG. 7; FIG.      Figs. 4, 5, 12.
                                        9; FIG. 10.
                                                                              IPR2020-1368, Paper 3, Petition for
                                        IPR2020-1368, Paper 3, Petition for Inter Partes Review at 45.
                                        Inter Partes Review at 2, 12, 17, 19,
                                        20-25, 30, 45, 46, 65, 66.            IPR2020-1368, Paper 9, Patent
                                                                              Owner’s Preliminary Response at
                                        IPR2020-1370, Paper 3, Petition for 14–16, 31.
                                        Inter Partes Review at 12, 15, 25,
                                        32, 44, 52, 53, 64.                   IPR2020-1370, Paper 3, Petition for
                                                                              Inter Partes Review at 44.



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 Volterra understands that the Court often addresses an assertion of indefiniteness separately from the claim
construction process. Volterra therefore respectfully requests the Court’s guidance as to whether the parties should
address indefiniteness in their claim construction briefs.
                                                           5
                                     Plaintiffs’ Proposed Construction,       Defendant’s Proposed
   Claim Term           Claim(s)
                                              Intrinsic Evidence          Construction, Intrinsic Evidence
                                     IPR2020-1370, Paper 18, Decision IPR2020-1370, Paper 9, Patent
                                     Denying Institution of Inter Partes Owner’s Preliminary Response at
                                     Review at 10, 20.                   14–16.

                                     Plaintiff reserves the right to rely on
                                     any evidence cited or relied on by
                                     Defendant, as well as any evidence
                                     cited in the parties’ claim
                                     construction briefs.
“orienting, in like   ’986 Patent,   Plain and ordinary meaning.             “windings are wound in such a way
direction”            Claim 17                                               so that mutual flux between the
                                     ’986 Patent: col. 2, lines 19-33; col. windings flows in opposite
                                     4, line 66-col. 5, line 13; col. 6 line directions”
                                     3-col. 8, line 35; col. 7, lines 15-23;
                                     col. 10, lines 8-34; FIG. 1; FIG. 2;    ’986 Patent at 2:24–33, 4:28–29,
                                     FIG. 3A; FIG. 3B; FIG. 10.              4:66–5:13, 6:7–10, 7:19–32, Figs. 1,
                                                                             3A, 3B.
                                     IPR2020-1368, Paper 19, Decision
                                     Denying Institution of Inter Partes     IPR2020-1368, Paper 9, Patent
                                     Review at 10                            Owner’s Preliminary Response at
                                                                             14–16.
                                     IPR2020-1370, Paper 18, Decision
                                     Denying Institution of Inter Partes     IPR2020-1370, Paper 9, Patent
                                     Review at 10.                           Owner’s Preliminary Response at
                                                                             14–16.


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                                  Plaintiffs’ Proposed Construction,             Defendant’s Proposed
   Claim Term        Claim(s)
                                            Intrinsic Evidence               Construction, Intrinsic Evidence
                                  Plaintiff reserves the right to rely on
                                  any evidence cited or relied on by
                                  Defendant, as well as any evidence
                                  cited in the parties’ claim
                                  construction briefs.

“to increase       ’986 Patent,   Not indefinite                             Indefinite
coupling between   Claim 17
the windings”                     ’986 Patent: Abstract; col. 1, lines       ’986 Patent at Abstract, 1:48–67;
                                  48-67; col. 2, lines 19-33; col. 2,        2:38–63; 6:3–7:4, 8:4–35, Figs. 1, 2.
                                  line 59-col. 3, line 54; col. 6, line 3-
                                  col. 10, line 67; col. 12, lines 11-16;    IPR2020-1368, Paper 3, Petition for
                                  FIG. 1; FIG. 2; FIG. 3A; FIG. 3B;          Inter Partes Review at 46 (footnote
                                  FIG. 4; FIG. 5; FIG. 6; FIG. 7; FIG.       4).
                                  9; FIG. 10; FIG. 11.
                                                                      IPR2020-1368, Paper 9, Patent
                                  IPR2020-1368, Paper 3, Petition for Owner’s Preliminary Response at
                                  Inter Partes Review at 46.          14–16, 44–45.

                                  IPR2020-1370, Paper 3, Petition for IPR2020-1370, Paper 3, Petition for
                                  Inter Partes Review at 32, 33, 45       Inter Partes Review at 45 (footnote
                                                                          4).
                                  Plaintiff reserves the right to rely on
                                  any evidence cited or relied on by      IPR2020-1370, Paper 9, Patent
                                  Defendant, as well as any evidence Owner’s Preliminary Response at
                                                                          14–16, 38–39.

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                               Plaintiffs’ Proposed Construction,      Defendant’s Proposed
   Claim Term     Claim(s)
                                         Intrinsic Evidence        Construction, Intrinsic Evidence
                               cited in the parties’ claim
                               construction briefs.               IPR2020-1370, Paper 18, Decision
                                                                  Denying Institution of Inter Partes
                                                                  Review at 15–16.

“common core”   ’986 Patent,   Plain and ordinary meaning.                 “single magnetic core with no gap”
                Claim 17
                               ’986 Patent: col. 1, lines 60-67; col.      ’986 Patent at Abstract, 1:48–67,
                               2, lines 2-63; col. 3, line 48-col. 4,      2:3–12, 2:38–63, 4:33–36, 6:5–10,
                               line 6; col. 6, lines 3-18; col. 7, lines   6:38-40, 7:19–25, 10:9–12, 10:35–
                               15-25; col. 9, lines 20-39; col. 10,        51, 11:1–4, 12:5–9, Figs. 1, 3A, 3B,
                               lines 8-14; col. 10, lines 35-51; col.      8, 9, 10, 12–14.
                               11, lines 2-4; col 12, lines 17-45;
                               FIG. 1; FIG. 2; FIG. 3B; FIG. 3A;           IPR2020-1368, Paper 9, Patent
                               FIG. 8; FIG. 10; FIG. 13; FIG. 14.          Owner’s Preliminary Response at
                                                                           14–16.
                               Plaintiff reserves the right to rely on
                               any evidence cited or relied on by      IPR2020-1370, Paper 9, Patent
                               Defendant, as well as any evidence Owner’s Preliminary Response at
                               cited in the parties’ claim             14–16.
                               construction briefs.
                                                                       7,352,269 Patent Prosecution
                                                                       History, Response to Office Action
                                                                       (September 14, 2005) at 21–22.



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                                      Plaintiffs’ Proposed Construction,       Defendant’s Proposed
   Claim Term           Claim(s)
                                               Intrinsic Evidence         Construction, Intrinsic Evidence
“a [first/second]     ’986 Patent,    Plain and ordinary meaning.        “two or more turns”
number of turns”      Claim 23
                                      ’986 Patent: col. 12, lines 55-62;        ’986 Patent at 3:14-16, 12:55-62.
                                      FIG. 1; FIG. 3A; FIG. 3B; FIG. 8;
                                      FIG. 10; FIG. 13; FIG. 14; claim
                                      15; claim 16; claim 23.

                                      Plaintiff reserves the right to rely on
                                      any evidence cited or relied on by
                                      Defendant, as well as any evidence
                                      cited in the parties’ claim
                                      construction briefs.

“windings”/“windin ’986 Patent,   Plain and ordinary meaning.                   “a conductor completing at least one
g”                 Claims 17,                                                   full turn around a magnetic core”
                   18, 20, 21, 23 ’986 Patent: Abstract; col. 1, lines
                                  47-67; col. 2, line 2-col. 3, line 8;         ’986 Patent at 2:3–33, 10:9–12,
                                  col. 3, line 39-col. 4, line 48; col. 5,      10:43–47, 11:15–17, 12:55-62,
                                  lines 2-45; col. 9, lines 20-39; col.         12:17–45, Figs. 1, 3A, 3B, 8, 9, 10,
                                  10, lines 8-13; col. 11, line 33-col.         12–14.
                                  12, line 27; FIG. 2; FIG. 3A; FIG.
                                  3B; FIG. 4; FIG. 5; FIG. 6; FIG. 7;
                                  FIG. 9; FIG. 10.

                                      Plaintiff reserves the right to rely on
                                      any evidence cited or relied on by

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                        Plaintiffs’ Proposed Construction,       Defendant’s Proposed
Claim Term   Claim(s)
                                  Intrinsic Evidence         Construction, Intrinsic Evidence
                        Defendant, as well as any evidence
                        cited in the parties’ claim
                        construction briefs.




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U.S. Patent Nos. 7,525,408 (14, 20)

                                      Plaintiffs’ Proposed Construction,      Defendant’s Proposed
    Claim Term          Claim(s)
                                               Intrinsic Evidence         Construction, Intrinsic Evidence
“wound about”         ’408 patent,    Plain and ordinary meaning.        “wrapped around”
                      Claim 14
                                      ’408 Patent: col. 2, line 65-col. 3,       ’408 Patent at 5:24–26, 5:56–58,
                                      line 2; col. 4 lines 15-48; col. 5, line   7:4–13, 7:27-29, 7:53–56, 9:24–28,
                                      20-col. 6, line 26; col. 7, lines 4-29;    11:41–12:12, Figs. 3, 4, 6–13, 17.
                                      col. 7, lines 44-56; col. 8, lines 43-
                                      54; col. 9, lines 13-28; col. 11, lines    IPR2020-1348, Paper 8, Patent
                                      9-12; col. 11, lines 41-63; col. 12,       Owner’s Preliminary Response at
                                      lines 7-12; FIG. 6; FIG. 7; FIG. 8;        31-33, 37-38, 49-51, 57, 63-65.
                                      FIG. 9; FIG. 10; FIG. 16; FIG. 17

                                      IPR2020-1348, Paper 1, Petition for
                                      Inter Partes Review at 10, 11, 23,
                                      25, 33, 38, 39, 73, 74, 82-83, 96-
                                      100.

                                      IPR2020-1348, Paper 8, Patent
                                      Owner’s Preliminary Response at
                                      23, 25-29.

                                      Plaintiff reserves the right to rely on
                                      any evidence cited or relied on by
                                      Defendant, as well as any evidence


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                                  Plaintiffs’ Proposed Construction,          Defendant’s Proposed
   Claim Term        Claim(s)
                                            Intrinsic Evidence            Construction, Intrinsic Evidence
                                  cited in the parties’ claim
                                  construction briefs.

“a magnetic core   ’408 patent,   Plain and ordinary meaning.              “N-1 passageways within a single
including … N-1    Claim 14                                                magnetic core, rather than two
passageways”                      ’408 Patent: col. 2, line 58-col. 3,     magnetic core elements separated
                                  line 2; col. 4 lines 26-48; col. 4, line by a gap”
                                  58-col. 5, line 10; col. 5, line 20-col.
                                  6, line 13; col. 6, line 57-col. 9, line ’408 Patent at 4:15–54, 4:65–67,
                                  47; col. 10, line 21-col. 12, line 12, 6:20–7:3, 9:48–10:50, Fig. 2, Fig. 5,
                                  FIG. 1; FIG. 3; FIG. 4; FIG. 5; FIG. Figs. 11–14.
                                  6; FIG. 7; FIG. 8; FIG. 9; FIG. 10;
                                  FIG. 14; FIG. 15; FIG. 16; FIG. 17. 7,352,269 Patent Prosecution
                                                                           History, Response to Office Action
                                  IPR2020-1348, Paper 1, Petition for (September 14, 2005) at 21–22.
                                  Inter Partes Review at 35, 36, 38-
                                  41, 45, 46, 79.                          7,525,408 Patent Prosecution
                                                                           History, Response to Restriction
                                  Plaintiff reserves the right to rely on Requirement (March 26, 2008) at 6-
                                  any evidence cited or relied on by       7.
                                  Defendant, as well as any evidence
                                  cited in the parties’ claim              IPR2020-1348, Paper 8, Patent
                                  construction briefs.                     Owner’s Preliminary Response at
                                                                           67.



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                                    Plaintiffs’ Proposed Construction,             Defendant’s Proposed
   Claim Term          Claim(s)
                                              Intrinsic Evidence              Construction, Intrinsic Evidence
“N connecting        ’408 patent,   Plain and ordinary meaning.              “N magnetic elements for physical
magnetic elements” Claim 14                                                  connection” / “Each connecting
/                                   ’408 Patent: col. 2, line 58-col. 3,     magnetic element physically
“each connecting                    line 2; col. 4, lines 26-48; col. 4,     connected to the first and second
magnetic element                    line 58-col. 5, line 10; col. 5, line    magnetic elements”
being coupled to the                20-col. 6, line 13; col. 6, line 57-col.
first and second                    9, line 47; col. 10, line 21-col. 12,    ’408 Patent at 9:48–10:50, Figs. 11–
magnetic elements”                  line 12, FIG. 1; FIG. 3; FIG. 4; FIG. 14.
                                    5; FIG. 6; FIG. 7; FIG. 8; FIG. 9;
                                    FIG. 10; FIG. 14; FIG. 15; FIG. 16; 7,525,408 Patent Prosecution
                                    FIG. 17.                                 History, Response to Restriction
                                                                             Requirement (March 26, 2008) at 6-
                                    IPR2020-1348, Paper 1, Petition for 7.
                                    Inter Partes Review at 17, 18, 26-
                                    33, 60, 61, 89, 92, 99-102, 107-108. IPR2020-1348, Paper 8, Patent
                                                                             Owner’s Preliminary Response at
                                    IPR2020-1348, Paper 19, Decision 65-67.
                                    Denying Institution of Inter partes
                                    Review at 3-6.                           IPR2020-1348, Paper 19, Decision
                                                                             Denying Institution of Inter partes
                                    Plaintiff reserves the right to rely on Review at 5.
                                    any evidence cited or relied on by
                                    Defendant, as well as any evidence
                                    cited in the parties’ claim
                                    construction briefs.


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U.S. Patent Nos. 7,772,955 (1–3, 5, 10, 12-21, 23–28)

                                      Plaintiffs’ Proposed Construction,             Defendant’s Proposed
    Claim Term           Claim(s)
                                               Intrinsic Evidence               Construction, Intrinsic Evidence
“[a/the] magnetic     ’955 patent,    Plain and ordinary meaning.              “a passageway within a single
core forming a        Claims 1, 12,                                            magnetic core, rather than two
passageway”           16, and 23      ’955 Patent: col. 2, line 58-col. 3,     magnetic core elements separated
                                      line 2; col. 4 lines 26-48; col. 4, line by a gap”
                                      58-col. 5, line 10; col. 5, line 20-col.
                                      6, line 13; col. 6, line 57-col. 9, line ’955 Patent at 4:15–54, 4:65–67,
                                      47; col. 10, line 21-col. 12, line 12; 6:20–7:3, 9:48–10:50, Fig. 2, Fig. 5,
                                      FIG. 1; FIG. 3; FIG. 4; FIG. 5; FIG. Figs. 11–14.
                                      6; FIG. 7; FIG. 8; FIG. 9; FIG. 10;
                                      FIG. 14; FIG. 15; FIG. 16; FIG. 17. 7,352,269 Patent Prosecution
                                                                               History, Response to Office Action
                                      IPR2020-1350, Paper 1, Petition for (September 14, 2005) at 21–22.
                                      Inter Partes Review at 3, 4, 5, 7, 24-
                                      36, 40, 44, 45, 46, 49-58.               7,772,955 Patent Prosecution
                                                                               History, Response to Restriction
                                      IPR2020-1350, Paper 9, Patent            Requirement (June 30, 2009) at 6.
                                      Owner’s Preliminary Response 15,
                                      16.                                      7,772,955 Patent Prosecution
                                                                               History, Response to Office Action
                                      IPR2020-1350, Paper 20, Decision (January 28, 2010) at 9-10.
                                      Denying Institution of Inter partes
                                      Review at 3, 4, 9.                       IPR2020-1350, Paper 9, Patent
                                                                               Owner’s Preliminary Response at
                                                                               15, 18.

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                                  Plaintiffs’ Proposed Construction,            Defendant’s Proposed
   Claim Term        Claim(s)
                                            Intrinsic Evidence             Construction, Intrinsic Evidence
                                  IPR2020-1350, Paper 1, Petition for
                                  Inter Partes Review at 2-4, 17-19,      IPR2020-1351, Paper 9, Patent
                                  24, 42, 57, 58, 65, 66.                 Owner’s Preliminary Response at
                                                                          14, 20, 54-55.
                                  Plaintiff reserves the right to rely on
                                  any evidence cited or relied on by
                                  Defendant, as well as any evidence
                                  cited in the parties’ claim
                                  construction briefs.

“planar surface”   ’955 patent,   Plain and ordinary meaning.           “flat surface”
                   Claim 23
                                  ’955 Patent: col. 2, lines 46-57; col. ’955 Patent at 4:15–5:17, 6:11-13,
                                  4 lines 15-25; col. 5, lines 18-19;     Figs. 2, 4.
                                  col. 6, lines 11-13; col. 6 lines 57-
                                  61; col. 7, lines 32-35; col. 7, line   IPR2020-1351, Paper 9, Patent
                                  66-col. 8, line 2; col. 8, lines 27-30; Owner’s Preliminary Response at
                                  col. 8, lines 47-63; col. 9, lines 32-  14, 63-64.
                                  35; col. 10, lines 26-28; col. 11,
                                  lines 45-48; FIG. 1; FIG. 2; FIG. 3;
                                  FIG. 4; FIG. 6; FIG. 7; FIG. 8; FIG.
                                  9; FIG. 10; FIG. 14; FIG. 17.

                                  IPR2020-1350, Paper 1, Petition for
                                  Inter Partes Review at 11, 15, 16,
                                  37, 53, 63.

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                               Plaintiffs’ Proposed Construction,            Defendant’s Proposed
   Claim Term     Claim(s)
                                        Intrinsic Evidence               Construction, Intrinsic Evidence

                               IPR2020-1351, Paper 1, Petition for
                               Inter Partes Review at 20, 49-52,
                               59-67, 105-110.

                               Plaintiff reserves the right to rely on
                               any evidence cited or relied on by
                               Defendant, as well as any evidence
                               cited in the parties’ claim
                               construction briefs.

“contacting”    ’955 patent,   Plain and ordinary meaning.               “physically joining”
                Claim 23
                               ’955 Patent: col. 2, lines 46-57; col. ’955 Patent at 4:67-5:3, Fig. 2.
                               4, lines 15-25; col. 5, lines 18-19;
                               col. 6, lines 11-13; col. 6 lines 57-   IPR2020-1351, Paper 9, Patent
                               61; col. 7, lines 32-35; col. 7, line   Owner’s Preliminary Response at
                               66-col. 8, line 2; col. 8, lines 27-30; 63.
                               col. 8, lines 47-63; col. 9, lines 32-
                               35; col. 10, lines 26-28; col. 11,
                               lines 45-48; FIG. 1; FIG. 3; FIG. 4;
                               FIG. 6; FIG. 7; FIG. 8; FIG. 9; FIG.
                               10; FIG. 14; FIG. 17.

                               IPR2020-1350, Paper 1, Petition for
                               Inter Partes Review at 11.

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                                    Plaintiffs’ Proposed Construction,            Defendant’s Proposed
   Claim Term          Claim(s)
                                             Intrinsic Evidence               Construction, Intrinsic Evidence

                                    IPR2020-1351, Paper 1, Petition for
                                    Inter Partes Review at 63-64.

                                    Plaintiff reserves the right to rely on
                                    any evidence cited or relied on by
                                    Defendant, as well as any evidence
                                    cited in the parties’ claim
                                    construction briefs.

“extending to the    ’955 patent,   Plain and ordinary meaning.               “folded underneath the magnetic
bottom side of the   Claim 12                                                 core”
magnetic core”                      ’955 Patent: Claim 3; Claim 4;
                                    Claim 12; col. 2, lines 46-57; col. 5, ’955 Patent at 5:11–17, Fig. 2.
                                    lines 10-17; col. 5, line 52-col. 6,
                                    line 10; col. 6, line 20-col. 10, line 7,772,955 Patent Prosecution
                                    20; FIG. 2; FIG. 3; FIG. 4; FIG 5;     History, Response to Office Action
                                    FIG. 6; FIG. 7; FIG. 8; FIG. 9; FIG. (January 28, 2010) at 9.
                                    10; FIG. 11; FIG. 12; FIG. 13.
                                                                           IPR2020-1350, Paper 9, Patent
                                    IPR2020-1350, Paper 1, Petition for Owner’s Preliminary Response at
                                    Inter Partes Review at 11, 62, 63,     48-49.
                                    66.

                                    Plaintiff reserves the right to rely on
                                    any evidence cited or relied on by

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                               Plaintiffs’ Proposed Construction,          Defendant’s Proposed
   Claim Term     Claim(s)
                                         Intrinsic Evidence            Construction, Intrinsic Evidence
                               Defendant, as well as any evidence
                               cited in the parties’ claim
                               construction briefs.

“outer leg”     ’955 patent,   Not Indefinite                          Indefinite
                Claim 12
                               ’955 Patent: col. 2, line 58-col. 3,    ’955 Patent, 4:15–5:19, Fig. 2.
                               line 2; col. 5, lines 18-19; col. 6,
                               lines 11-13; col. 7, lines 4-43; FIG.   IPR2020-1350, Paper 9, Patent
                               2; FIG. 4; FIG 5; FIG. 6.               Owner’s Preliminary Response at
                                                                       39.
                               IPR2020-1350, Paper 1, Petition for
                               Inter Partes Review at 11, 26-29,
                               51-53.

                               IPR2020-1350, Paper 20, Decision
                               Denying Institution of Inter partes
                               Review at 35-38.

                               IPR2020-1351, Paper 1, Petition for
                               Inter Partes Review at 11, 18, 19,
                               57, 58, 91.

                               IPR2020-1351, Paper 9, Patent
                               Owner’s Preliminary Response at
                               41, 42-44, 48, 49, 71.

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                        Plaintiffs’ Proposed Construction,            Defendant’s Proposed
Claim Term   Claim(s)
                                 Intrinsic Evidence               Construction, Intrinsic Evidence

                        Plaintiff reserves the right to rely on
                        any evidence cited or relied on by
                        Defendant, as well as any evidence
                        cited in the parties’ claim
                        construction briefs.




                                          20
